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   From:                 Lisa_Lyles@oknd.uscourts.gov
   To:                   O"Reilly, Charles A. (TAX)
   Subject:              RE: Electronic Filing Entry 12/08/09; 09-CR-43-SPF
   Date:                 Wednesday, December 09, 2009 10:23:07 AM




  No. You do not need to file an errata/correction. Just remember to add the signature line in the future.
  Have a great day.


  Lisa M. Lyles
  United States District Court
  Northern District of Oklahoma
  (918)699-4727




   "O'Reilly, Charles A. (TAX)"                                To <Lisa_Lyles@oknd.uscourts.gov>
   <Charles.A.O'Reilly@usdoj.gov>
                                                                cc
                                                           Subject RE: Electronic Filing Entry 12/08/09; 09-CR-43-SPF
   12/09/2009 09:16 AM




  Lisa:

  Thank you and sorry for the oversight. Do you need me to file an errata to correct the missing signature? I will
  send a copy of the proposed order via email to CM-ECFIntake_OKND@oknd.uscourts.



  Charles A. O'Reilly
  Special Assistant U.S. Attorney
  Northern District of Oklahoma




  From: Lisa_Lyles@oknd.uscourts.gov [mailto:Lisa_Lyles@oknd.uscourts.gov]
  Sent: Wednesday, December 09, 2009 10:14 AM
  To: O'Reilly, Charles A. (TAX)
  Subject: Electronic Filing Entry 12/08/09; 09-CR-43-SPF



  Thank you for filing electronically. Document No. 259 does not have a signature. In the
  future, please remember to add the following to your signature lines: s/<atty's name>.
  Please see our CM/ECF Administrative Guide of Policies and Procedures for a detailed
  explanation.

  Also, you e-filed Document No. 259, which has a proposed order attached. All proposed
  orders should be submitted by email pursuant to the Northern District of Oklahoma's
  Administrative Guide, Section XIV, Page 8, adopted by General Order 04-13 on 11/19/04.
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  Additionally, all proposed orders must refer to the docket entry number for any motion
  referenced and be WordPerfect Compatible (Microsoft Word is an acceptable alternative).

  If you have not already done so, you MUST RESUBMIT your proposed order by email, in
  accordance with the above, to:
  CM-ECFIntake_OKND@oknd.uscourts.gov

  Thank you for your attention to this matter. If you have any questions with regard to this, or
  any future filings, please contact me.

  Lisa M. Lyles
  United States District Court
  Northern District of Oklahoma
  (918)699-4727
